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                       EXHIBIT 47
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   Tx/Rx                                           TX
   Frequency [MHz]                                 20.15290
   Frequency Record Identifier                     0002165187
   Regulatory Service                              1
   Communication Type                              TXRX
   Conformity to Frequency Plan                    B
   Frequency Allocation Name
   Channel
   Legacy System Internationl Co-ordination Number
   Analog/Digital                                  D
   Occupied Bandwith [kHz]                         24
   Designation of Emission                         24K0J7DEN
   Modulation Type                                 LMR-DIGITAL
   Filtration Installed                            1
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   Tx Effective Radiated Power [dBW]               38.35
   Tx Transmitter Power [W]                        1000
   Total Losses [dB]                               2
   Analog Capacity [Channels]                      1.
   Digital Capacity [Mbit/s]                       .064
   Rx Unfaded Received Signal Level [dBW]          -
   Rx Threshold Signal Level for BER 10e-3 [dBW] -
   Manufacturer                                    TrellisWare
   Model Number                                    TW-6210
   Gain [dBi]                                      12.4984
   Antenna Pattern
   Half-Power (3 dB) Beamwidth [Deg]
   Front-to-Back Ratio [dB]                        15
   Polarization                                    A
   Heigh Above Ground Level [m]                    45
   Azimuth Of Main Lobe [Deg]                      146
   Vertical Elevation Angle [Deg]                  1
   Station Location                                Essex, County
   Licensee Station Reference                      BC Unlimited Tx Site
   Call Sign                                       CGA984
   Station Type                                    6
   ITU Class of Station                            FX
   Staion Cost Category
   Number Of Identical Stations
   Reference Identifier                            010994193-002
   Province                                        ON
   Latitude                                        42.04181306
   Longitude                                       -82.97417889
   Ground Elevation Above Mean Sea Level [m]       1
   Antenna Structure Height Above Ground Level [m] 45
   Congestion Zone                                 L
   Radius Of Operation [km]
   Satellite Name
   Authorization Number                            011012069-001
   Service                                         3
   Subservice                                      300
   Licence Type                                    S
   Authorization Status                            G
   In-Service Date                                 2023-09-26
   Account Number                                  100000092353
   Licensee Name                                   1291956 B.C. Unlimited Liability Company
   Licensee Address                                700 W. George St. Suite 2200,Vancouver,BC,V7Y 1K8
   Operational Status
   Station Classification

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   Horizontal Power [W]                              0
   Vertical Power [W]                                0
   Standby Transmitter Information

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